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                  IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF CONNECTICUT
__________________________________________
VICTOR J. VELASCO,                         :
                                           : CASE NO. 11 CV 463 (JCH)
                  Plaintiff,               :
                                           :
      v.                                   :
                                           :
LIEUTENANT HALPIN, LIEUTENANT              :
DOUGHERTY, INVESTIGATOR SWEET,             :
COUNSELOR DAMIAN DORAN, AND ACTING :
DISTRICT ADMINISTRATOR JOHN ALVES, :
                                           :
                  Defendants.              : February 21, 2018
__________________________________________:

                                    AMENDED COMPLAINT

       The plaintiff, Victor J. Velasco II, for this complaint states the following:

                            PARTIES, JURISDICTION AND VENUE

       1.        The plaintiff, Victor J. Velasco II, was confined in Corrigan Correctional Center,

located at 986 Norwich/New London Turnpike, Uncasville, Conn. 06382, from May 25, 2010

thru December 23, 2010.

       2.        The plaintiff is currently housed at Northern Correctional Institution at 287 Bilton

Road, Somers, Conn 06071.

       3.        The plaintiff is and was at all times mentioned herein, an adult citizen of the

United States and a resident of the State of Connecticut.

       4.        Defendant Lieutenant Halpin was at all times relevant herein the Disciplinary

Hearing Officer/D.H.O. at Corrigan Correctional Center in the city of Uncasville.

       5.        Defendant Lieutenant Dougherty was at all times mentioned herein, the Unit

Manager of E Unit and the Disciplinary Coordinator at Corrigan Correctional Center in the city

of Uncasville.
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        6.      Defendant Corrections Officer Sweet was at all times relevant herein,

the Disciplinary Investigator at Corrigan Correctional Center in the city of Uncasville.

        7.      Defendant Damian Doran was at all times relevant herein, a Correction Counselor

and the appointed Advocate for the plaintiff at Corrigan Correctional Center in the city of

Uncasville.

        8.      Defendant John Alves was at all times relevant herein the Acting District

Administrator at/of Corrigan Correctional Center in the city of Uncasville.

        9.      Defendant Halpin is the Hearing Officer and is required to uphold the Department

of Corrections Administrative Directives. He is sued in his individual and official capacities.

        10.     Defendant Dougherty is the Disciplinary Coordinator and is required to uphold

the Department of Corrections Administrative Directives. He is sued in his individual and

official capacities.

        11.     Defendant Sweet is the Disciplinary Investigator and is required to uphold the

Department of Correction’s Administrative Directives. He is sued in his individual and official

capacities.

        12.     Defendant Damian Doran is a Corrections Counselor and was assigned to assist

the plaintiff in his defense as an advocate and is required to uphold the Department of

Correction’s Administrative Directives. He is sued in his individual and official capacities.

        13.     Defendant John Alves is the Acting District Administrator and is required to

uphold the Department of Corrections Administrative Directives. He is sued in his individual

and official capacities.

        14.     This action arises under and is brought pursuant to 42 U.S.C. § 1983 to remedy

the deprivation, under color of state law, of rights guaranteed by the First, Fourth, Eighth and




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Fourteenth Amendments to the United States Constitution.               This Honorable Court has

jurisdiction over this action pursuant to 28 U.S.C. § 1331 and 1343.

          15.   Plaintiff’s claims for injunctive relief are authorized by Rule 65 of the Federal

Rules of Civil Procedure.

          16.   This cause of action arose in the District of Connecticut. Therefore, venue is

proper under 28 U.S.C. § 1391(b).

                            PREVIOUS LAWSUITS BY PLAINTIFF

          17.   Plaintiff has filed no other lawsuits dealing with the same facts involved in this

action.

          18.   Plaintiff has filed other lawsuits, however, none have dealt with any issues arising

herein.

          19.   None of the Defendants have ever been the subject of legal action by the plaintiff

until now.

                    EXHAUSTION OF ADMINSITRATIVE REMEDIES

          20.   The plaintiff has exhausted his administrative remedies in accordance with the

Prison Litigation Reform Act with respect to the claims brought herein. In this instance, the

plaintiff’s only avenue for remedy falls under a disciplinary appeal form per the Department of

Correction’s Administrative Directive 9.6 Inmate Administrative Remedies section 9.

                                   STATEMENT OF CLAIM

          21.   At all relevant times herein, Defendants were “persons” for the purposes of

42 U.S.C. § 1983 and acted under color of law to deprive the plaintiff of his federal rights, as set

forth below.




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                                  STATEMENT OF FACTS

       22.     On September 29, 2010, the plaintiff was placed in the Restrictive Housing Unit

(R.H.U.) at Corrigan Correctional Center.

       23.     On September 29, 2010, the plaintiff received a copy of a Restrictive Housing

Unit Status Order which gave the plaintiff no reason why he was placed in R.H.U.

       24.     The Restrictive Housing Unit Status Order stated the reason why another inmate

was placed on administrative detention and stated the following: “The inmate’s/my continued

presence in the general population poses a serious threat to life, property, self, other inmates,

and/or the security of the facility because:        I/m Perez, Jeremiah #280171 is placed on

administrative detention pending a custody investigation.”

       25.     On September 30, 2010, the plaintiff received a Disciplinary Report at 9:08 AM

for Security Risk Group Affiliation.

       26.     The description of violation for that report stated: “During a routine shakedown

of a cell belonging to a S.R.G. Latin King member, documentation of an internal investigation

initiated by the Latin Kings was found. Within the investigation package, documentation was

found that was submitted by I/M Velasco.         In accordance with A.D. 9.5, Code of Penal

Discipline, as outlined by Connecticut Department of Correction, this type of behavior clearly

displays association with the Security Risk Group, The Latin Kings.”

       27.     The physical evidence for that report stated, “Investigation package.”

       28.     On September 30, 2010, the plaintiff signed a plea of guilt and was given the

following sanctions: 7 (seven) days Punitive Segregation; 15 (fifteen) days Loss of Recreation;

and 30 Days Loss of Commissary.




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        29.      The plaintiff was allowed to return to the Security Risk Group Unit “E” on

October 6, 2010.

        30.      The plaintiff was housed in cell E-206.

        31.      The plaintiff asserts that he was permitted 45 minutes of exercise time in the

S.R.G. Unit “E” (when not on Loss of Recreation) 5 days per week in an outside recreation yard.

        32.      The plaintiff asserts that he was permitted to possess his digital color television

which he purchased from the prison commissary while he was in the SRG Unit “E” at Corrigan

Correctional Center.

        33.      The plaintiff asserts that he was not subjected to strip searches every time he was

to exit his cell while he was in the S.R.G Unit “E” at Corrigan Correctional Center.

        34.      The plaintiff asserts that he was not made/forced to wear handcuffs behind his

back for the entire duration of his out of cell time while in the S.R.G. Unit “E” at Corrigan

Correctional Institution.

        35.      The plaintiff asserts that he was permitted to possess all of his personal property

with the exception of:

               14 (fourteen) pairs of socks

               10 (Ten) T-shirts

               2 (two) combs

               1 (one) hairbrush

               6 (six) soapdishes

               2 (two) thermal coffee cups

               2 (two) clear plastic drinking cups

               2 (two) clear plastic toothbrush holders




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              commissary items of food

              25 (twenty-five) stamped envelopes

       These items somehow went missing in the seven hours and ten minutes on May 25, 2010,

the day the plaintiff transferred to the Corrigan Correctional Center.

       36.      On November 10, 2010, Lieutenant Dougherty ordered the plaintiff’s placement

in the Restrictive Housing Unit and filled out form 9401/1 which stated: “I/M Velasco, Victor

#213065 was placed in R.H.U. pending a Class A Discipline for S.R.G. Affiliation.”

       37.      On November 10, 2010, the plaintiff received a disciplinary report for Security

Risk Group Affiliation which was delivered at 3:20 P.M.

       38.      The description of violation for that report stated, “On 11-10-10 at 1:30 P.M.,

while searching cell E-206, this officer found (7) pages of S.R.G. “Latin King,” material hidden

between the desk and far wall of the cell. Inmate Velasco, Victor resides in cell E-206 and is the

known “Latin King” in E-206.”

       39.      There are no witnesses on the report to the alleged discovery.

       40.      The physical evidence for that report stated, “(7) pages of “Latin King” material.”

       41.      On November 15, 2010, Defendant Lieutenant Dougherty upgraded the original

charge of S.R.G. Affiliation to Security Risk Group Threat Member by altering the original

report of November 10, 2010. There is no existing violation of “Security Risk Group Threat

Member” in the published list of class A violations in the Administrative Directive 9.5, Code of

Penal Discipline.

       42.      On November 10, 2010, defendant Lieutenant Dougherty filed an Incident Report

– Supplemental Page CN 6601/3, report number CRCC-2010-027, in which he clearly states:




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“I recommend that I/M Velasco’s charge be upgraded to Threat Member based on the contents

of the letter.” (Emphasis added.)

        43.      On November 15, 2010, defendant Sweet delivered the altered report to the

plaintiff at 12:00 P.M.

        44.      The report number for that report is RCC 10 11 036.

        45.      On November 15, 2010, defendant Sweet in his capacity as Investigator asked this

plaintiff if he desired to call witnesses and this plaintiff stated “Yes” and named Warden Erfe,

Lieutenant Williams, Captain Alderucci and inmate Richard Perry #312022.

        46.      Defendant Sweet refused to record Richard Perry on his report and directed this

plaintiff to address this with his advocate if one is appointed.

        47.      Defendant Sweet asked this plaintiff if he would like the assistance of an advocate

and this plaintiff stated “Yes.” Defendant Sweet assigned Correction Counselor Damian Doran

to the plaintiff to serve as advocate and told this plaintiff to sign his Investigation Report which

this plaintiff did.

        48.      The plaintiff told Defendant Sweet that the plaintiff will speak through his

advocate.

        49.      Defendant Sweet typed this up.

        50.      On November 30, 2010, the plaintiff met with his appointed advocate, Defendant

Doran, and requested that Defendant Doran get the plaintiff a copy of the evidence being used

against this plaintiff and Defendant Doran stated he will not be able to get the copies.

        51.      On November 30, 2010, because the plaintiff was not made aware of the specific

conduct of which the charge of “Threat Member” was reliant on, the plaintiff had no choice, but




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to prepare a broad defense statement which the plaintiff had written by hand and then submitted

to his advocate.

       52.     The submitted statement consisted of five pages of handwritten statement and

several supporting documents which included:

          i.   Disciplinary Report number RCC 10 11 036;

         ii.   Disciplinary Report number RCC 10 11 035;

        iii.   Restrictive Housing Unit Status Order of 11/10/10 by Lieutenant Dougherty;

         iv.   Copy of letter from A.C.L.U. to the plaintiff dated August 6, 2010;

         v.    Copy of letter from attorney Nicole Anker of the Department of Correction Legal

               Affairs Unit to the A.C.L.U.;

         vi.   Copy of letter from A.C.L.U. (American Civil Liberties Union) to attorney Nicole

               Anker;

        vii.   Copy of letter from the A.C.L.U. to Andrew J. O’Keefe, Chairman of the

               Freedom of Information Commission;

       viii.   Copy of letter sent to the State of Connecticut Department of Correction from the

               Freedom of Information Commission;

         ix.   Copy of letter from the Freedom of Information Commission to the plaintiff,

               David Machernis, State of Connecticut, Department of Correction and State of

               Connecticut, University of Connecticut Health Center, Correctional Managed

               Health Care;

         x.    Copy of the Department, Administrative Directive 9.5, Code of Penal Discipline;

               and




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         xi.   Copy of Disciplinary Report number RCC 10 10 005 and Disciplinary Process

               Summary Report number RCC 10 10 005.

       53.     On December 2, 2010, after the plaintiff had spent 23 days (15 business days) in

the Restrictive Housing Unit without ever being afforded the opportunity to have access to

cleaning materials or disinfectants to clean his (plaintiffs) cell which includes a sink and toilet

which housed two inmates that had to eat every meal in the same cell together with no personal

property and not permitted to have any soap within the cell, only then was the plaintiff afforded a

Disciplinary Hearing.

       54.     At the Disciplinary Hearing presided Defendant Lieutenant Halpin as the

Disciplinary Hearing Officer and factfinder.

       55.     The Disciplinary Hearing Officer Lieutenant Halpin did not allow the plaintiff to

enter in his defense which Defendant Damian Doran was assigned to assist with.

       56.     Defendant Halpin did not ensure that the hearing was impartial.

       57.     Defendant Damian Doran as advocate appointed did not interview the plaintiff’s

witnesses, nor did he help the plaintiff present his case before the Hearing Officer.

       58.     Defendant Damian Doran, as advocate appointed by the Defendant Investigator

Sweet, appeared before the Hearing Officer and instead of assisting this petitioner in presenting

his defense, stated to the Hearing Officer: “There is sufficient evidence that Inmate Velasco

authored the letter in question. It is clear to this writer that the letter indicates that inmate

Velasco holds ? ? ? . Inmate Velasco should be found guilty of the charge SRG – Safety Threat

Member.”




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          59.   The Connecticut Department of Correction has established a policy known as

Administrative Directive 9.5, Code of Penal Discipline, which governs matters involving inmate

disciplinary process and functions of all persons duties whom participate in such proceedings.

          60.   Administrative Directive 9.5, section 25 is entitled “Advocate.”

          61.   Section 25 states, “The advocate shall assist the inmate in preparing a defense,

and appear at and assist in making a presentation at a formal disciplinary hearing.” (Emphasis

added).

          62.   The plaintiff was not permitted any writing utensil nor writing paper at the

hearing and was handcuffed thus he (plaintiff) could not, in writing, withdraw his request for an

advocate at the time of the hearing.

          63.   The plaintiff’s advocate, Defendant Damian Doran, never showed the plaintiff the

evidence (7 pages of Latin King material according to the disciplinary report given to the

plaintiff) being used against him.

          64.   The Department of Correction’s Administrative Directive 9.5, Code of Penal

Discipline, section 12, subsection W, is entitled “Security Risk Group Safety Threat” and defines

such as: “Activity, behavior, status as a recognized Security Risk Group leader or involvement

in an event associated with a Security Risk Group which jeopardizes the security and order of the

facility.”

          65.   The disciplinary report for the offense of “Security Risk Group Threat Member”

does not specify whether it relies on any known offense in accordance with the established rules

of the Department of Correction or if this is an unpublished offense with its own definition of

which prisoners are not permitted access to.




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        66.     The disciplinary report for the offense of “Security Risk Group Threat Member”

is impossible to defend against since the petitioner’s Advocate did not investigate the charge to

see if the offense was actually an offense under Department of Correction policy and did not

report to the plaintiff of such.

        67.     On December 10, 2010, the plaintiff filed a request under the Freedom of

Information Act to Deputy Warden Don Cyr of Corrigan-Radgowski Correctional Center,

(8) eight days after the plaintiff had a disciplinary hearing for the offense of Security Risk Group

Threat Member, requesting:

           i.   (7) pages of Latin King material used as evidence for disciplinary report

                # RCC 10 11 036;

          ii.   Incident Report of Lieutenant Dougherty for the above mentioned disciplinary

                report;

         iii.   Advocate Investigation form for the above mentioned disciplinary report; and

         iv.    Disciplinary Investigator’s report for the above mentioned disciplinary report.

        68.     The plaintiff made this request after the hearing because the appointed Advocate

did not present a copy of the evidence against this petitioner to the petitioner and when this

petitioner made an oral request for the evidence being used against this petitioner to the Hearing

Officer, Defendant Halpin, the Hearing Officer told this plaintiff he would not allow anyone to

give this plaintiff a copy of the evidence. He did not say why.

        69.     On December 16, 2010, Deputy Warden Don Cyr acknowledged receipt of the

plaintiff’s request for documents under the Freedom of Information Act.

        70.     On January 3, 2011, Deputy Warden Don Cyr again wrote/typed another response

to this plaintiff pertaining to the plaintiff’s Freedom of Information Request of December 10,




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2010 informing this plaintiff that he forwarded the documents responsive to this plaintiff’s

Freedom of Information request to the Freedom of Information Administrator, Joan Ellis, at State

of Connecticut, Department of Correction, 24 Wolcott Hill Road, Wethersfield, CT 06109 for

review due to the content as it may be considered “Safety and Security” matter.

       71.      On January 11, 2011, this plaintiff received a letter from Joan Ellis stating:

“The above request was forwarded to this office for review and redactions by Corrigan

Radgowski Correctional Center.        Submit a check to the above address made payable to

“Treasurer, State of Connecticut” in the amount of $7.75 (31 copies @ $.25 per copy) to cover

the cost of the copies. The documents will be provided upon receipt of payment.”

       72.      On January 20, 2011, the plaintiff again received a letter from Joan Ellis

Enclosing a copy of redacted documents.

       73.      The (7) seven pages of “Latin King” material which this plaintiff requested were

not included. No reason given as to why they were not included.

       74.      The Department of Corrections Administrative Directive 9.5, Code of Penal

Discipline also states the violation of Security Risk Group Affiliation under section 12(V) which

states: “Possessing or displaying any materials, symbols, colors or pictures of any identified

security risk group; or behavior uniquely or clearly associated with a security risk group.”

       75.      The plaintiff’s advocate, Defendant Damian Doran, failed to:

             A. Show the plaintiff any copy of or original documentation of any evidence used

                against the plaintiff before, during or after the disciplinary hearing;

             B. Collect statements or secure testimony from the plaintiffs selected witness; and

             C. Assist the plaintiff in making, presenting or preparing a defense to the charge of

                “Security Risk Group Threat Member.”




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       76.    The plaintiff made a defense of retaliation against the Department of Correction

and the medical department and as the grounds for the presenting of the upgraded charge of

11-15-10.

       77.    In a meeting for a hearing before the Freedom of Information Commission’s

hearing officer Clifton A. Leonhardt, Esq., the Director of Correctional Managed Health Care of

Northern Correctional Institution testified under oath that “when in November 2010 the

complaint to the Commission came to the attention of Richard Furey, the supervisor of

respondent Machernis at Northern Correctional Institution, Mr. Furey promptly telephoned his

counterpart, the Director of Correctional Managed Health Care at Corrigan-Radgowski

Correctional Center.

       78.    Richard Furey’s testimony was in regards to Docket Number F.I.C. 2010-226,

Velasco v. Machernis, before the Freedom of Information Commission.

       79.    The plaintiff made (9) nine claims in his retaliation defense to the Security Risk

Group Threat Member offense. The claims are:

       “Claim #1

              I do not claim ownership of the “Latin King” material allegedly “found” in cell E-

       206. E-206 was occupied by two inmates. Only one received a Disciplinary Report.



       “Claim #2

              Reporting officer does not state any witnesses to attest to the discovery he

       allegedly made in cell E-206 at 1:30 P.M.




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“Claim #3

       I show proof in the reporting officers own handwriting and in his own words that

at the time of his alleged “discovery,” he was in fact in another cell at the exact time he

claims to have been in cell E-206. The reporting officer wrote another Disciplinary

Report (#RCC 10 11 035) against inmate Richard Perry (#312022) and in said report

writes, “On 11-10-10 AT 1:30 P, while searching cell E-205 . . . .”

       In the charge against me he writes “On 11-10-10 AT 1:30 P, while searching cell

E-206 . . . .” This is impossible to be in two places at the same time. I claim his report to

be false.



“Claim #4

       The Custody Supervisor/Unit Manager Review was signed by Lieutenant Kunetz

and completed at 2:10 P.M. on 11/10/10. However, Turner, the reporting officer, signed

his signature and completed his report at 2:24 PM. A full 14 minutes after the Custody

Supervisor/Unit Manager Review. I claim the report was not properly reviewed as

evidenced by the different times recorded on the report.



“Claim #5

       The charge of SRG was substituted by Lieutenant Dougherty to SRG Threat

Member on 11-15-10. Three days after the D.O.C. Commissioner received copies of

legal notices from the F.O.I.C. which were mailed on November 12, 2010. This alone

could be mere coincidence, but it cannot be ignored that Lt. Dougherty was on duty on

11-10-10 and so filled out form CN 9401/1, “Restrictive Housing Unit Status Order”




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placing me in Restrictive Housing for “SRG Affiliation” after reviewing the charge and

not substituting it. Lt. Dougherty signed and dated this form: 11/10/10.

       Within 72 hours after being removed from population, the Unit Administrator

reviewed my case in accordance with the 9.5 A.D. section 20, or so I presume. However,

5 days after the initial Disciplinary Report was written and three days after a notice was

sent to D.O.C. from the F.O.I.C. pertaining to a civil matter I filed, L.T. Dougherty raises

the charge to SRG “Threat Member,” in retaliation for filing complaints and

grievances/administrative remedies.



“Claim #6

       The description of violation does not fall under the requirements to support a

charge of SRG “Threat Member” as described in section 12(W) of the 9.5,

Administrative Directive. In fact, section 12(V) is the closest possible charge that can be

made with the description of violation the reporting officer wrote on the Disciplinary

Repot. To claim “Threat Member” and not state why in a manner that allows me to

prepare a defense to such charge violates due process since there’s no way to defend

against unfounded charges.



“Claim #7

       The 9.5 Administrative Directive states that the time frame for a Disciplinary

hearing shall be convened no later than seven (7) business days of the date of the

disciplinary report (See A.D., 9.5., section 31 “Hearing (A)).” The Defendant has been




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waiting for a hearing to be convened since the 10th (which is the date on the ticket) and it

has been over 12 business days without a hearing.

       The 9.5 Administrative Directive section 31(b) clearly states “An accused inmate

shall be present at the disciplinary hearing.”       The accused has not heard of any

continuances and neither has the Hearing Officer since there was never a hearing to begin

with and if there was, then it would constitute a procedural failure since the accused

requested an advocate and section 25 of the Administrative Directive 9.5 states “An

advocate shall meet with the inmate at least 24 hours prior to the hearing . . . .”

       To hold or convene a hearing without permitting the accused to meet with his

advocate is a serious procedural failure in and of itself since the accused is kept in a

Restrictive Housing Unit and is stripped of all his property and lacks the freedom to

research or prepare an objection to a request for continuance if it lacks good cause

because no notice was given to the accused.

       Furthermore, a request for continuance falls under A.D. 9.5, section 31 Hearing

(C). It states “a disciplinary hearing may be continued . . . .” It does not state that a

disciplinary hearing may be “postponed.”



“Claim #8

       “The Investigator shall conduct an investigation into the circumstances of each

disciplinary report that goes to hearing and gather all information deemed relevant to the

disciplinary report.” This has not been done by the investigator (Sweet) whom would

have found such issues as I have brought to light here. This quote comes from the

A.D. 9.5, section 24. From this same section it states “The Investigator shall prepare a




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       hearing docket and ensure that a disciplinary report is brought to hearing in accordance

       with the time frame established in Section 31(A) of the Directive and shall ensure that the

       inmate, any witnesses, the advocate and evidence along with appropriate forms are

       available at the scheduled hearing.”

              Obviously the Investigator figured the time frame established did not apply to me.

       Further evidence of retaliation.



       “Claim #9

              The final Claim is that the 9.5 Administrative Directive section 44, states, “Any

       exceptions to the procedures in this Administrative Director shall require prior written

       approval from the Commissioner.”

              Because so many exceptions have been made to the procedures in this instance,

       prior written approval from the Commissioner must exist. And so shows that the

       Commissioner acted knowingly and deliberately set out to retaliate against the accused

       where just over a month ago, this accused was given another SRG disciplinary report and

       ordered to either sign the ticket or be subjected to more disciplinary actions and lose my

       property. And a threat to be once again sent to Northern. In violation of the Directive

       the Investigator made me place my signature on the ticket.           I am tired of being

       threatened, harassed, and punished for legally seeking redress from the government.

       This charge should be dismissed for procedural failure. In conjunction, these amount to

       more than “minor discrepancies.”

       80.    Defendant Sweet, in an investigation report that was mailed to this plaintiff from

Joan Ellis after the disciplinary hearing, writes/types “The paperwork that was recovered was




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hand written by I/M Velasco, which was matched with two hand writing samples recovered from

I/M Velasco’s inventoried property and from his current RHU Cell.” Not once did Defendant

Sweet claim to be a handwriting expert nor did he claim that he has ever actually observed this

plaintiff write anything – ever, to allow him to definitively state that anything was “matched” to

this plaintiff’s handwriting.

        81.    Defendant Sweet did not enter any “handwriting samples” into evidence before,

during or after the hearing.

        82.    The plaintiff was not made aware by his advocate that any “handwriting samples”

were logged as evidence against this plaintiff and such “handwriting samples” was not made

available to the plaintiff to dispute or challenge the findings.

        83.    On December 2, 2010, the petitioner filed an appeal to Defendant John Alves.

        84.    In the plaintiff’s appeal it was stated:

       “The D.H.O claims a ‘criteria of some evidence presented’ and ‘evidence presented’ on

as his bases for finding. He does not rely on the nature of the evidence, only that some evidence

presented. This criteria does exist in the Supreme Court decision in Hewitt v. Helms, U.S. 103

S.Ct. 864 (1983). However, this case only addresses prisoners whom are placed in segregation

for investigations. Because I was placed in segregation for an act of alleged misconduct, I am

entitled to the disciplinary safeguards of Wolff v. McDonnell, 418 U.S. __. Under Wolff,

prisoners facing disciplinary charges are entitled to a written statement of the evidence that a

decision is based on and the reasons for the action taken and the right to present documenting

evidence. The Supreme Court in Wolff, states that the notice that is given of a disciplinary

hearing must describe “specific conduct upon which the charges are based.” A finding of guilt




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must also be reasonably specific. The hearing officer made no mention of consideration of my

statement or evidence nor did he state why he made the decision, specifically.

       “There is absolutely no possible way to defend against a charge of Security Risk Group

Safety Threat Member when the ticket does not allege any violation of the 9.5 Administrative

Directive section 12(W). What type of kangaroo court is this? And the investigator didn’t even

get a statement from Capt. Alderucci as I requested.

       “The only facts are what the disciplinary report states and those facts only point to a

violation of the 9.5 Administrative Directive 12(V). D.o.C. placed me in a gang unit because I

am designated a Latin King. I did not come from general population. I present this along with

my original statement I submitted to the Disciplinary Hearing Officer Lieutenant Halpin.

       “If after I’ve explained the violation to my civil rights as I have done here and my appeal

is denied, the reviewing supervisor is considered to be “personally involved” in a constitutional

violation where the supervisor, “after learning of a violation of my rights, failed to remedy the

wrong.” (Williams v. Smith, 781 F.2d 319, 322-24 (2d Cir. 1986) (describing the ways in which

supervisors may be found liable under § 1983)).

       “I am claiming procedural failure. I also claim a violation to the equal protection clause

where a little over a month ago I was given an S.R.G. disciplinary report with more than 7 pages

of ‘Latin King Material’ and was not given a trumped-up charge of ‘Threat Member.’ And the

evidence here comes from the evidence there I believe.

       “I also claimed a retaliation defense which should have mooted the criteria the

Disciplinary Hearing Officer relied on of “some evidence presented.” And the Disciplinary

Hearing Officer does not clarify who’s evidence he is mentioning because I submitted




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documentary evidence too. I want this ruling reversed and you have been placed on notice of

violation.”

        85.    Defendant John Alves responded to the plaintiff’s appeal and denied the appeal on

January 3, 2011.

        86.    Defendant John Alves also claimed that the petitioner has exhausted D.O.C.’s

Administrative Remedies.

        87.    In a letter dated January 3, 2011, defendant John Alves states:

       “Dear Mr. Velasco:

       “I am in receipt of your correspondence dated December 2, 2010 regarding the appeal of

a Class A Disciplinary Report RCC #10-11-0036 for Security Risk Group Safety Threat Member

Affiliation ‘Latin King.’

       “At this juncture I do not retry the report, but merely evaluate the facts. With this, I have

reviewed your appeal and found no errors in the due process; therefore I am upholding your

finding of guilty.”

        88.    Defendant John Alves uses this cover letter to respond to all inmates’ appeals

regardless of the charge unless the inmate requesting his/her appeal to be heard can provide a

service to a D.o.C. employee directly or indirectly and granted the employee is high enough in

the chain of command to influence defendant John Alves.

        89.    The plaintiff received a ‘Flagrant Disobedience’ disciplinary report for which the

plaintiff subsequently appealed to Defendant John Alves and received another so similar, if not

exactly word for word, letter in response to the appeal that the plaintiff looked into several other

inmates appeal responses only to find that they were almost exactly the same to one another.

Defendant John Alves does not review appeals for inmates, he only denies them uniformly.




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       90.      Defendant John Alves as supervisor over defendants Dougherty, Halpin, Sweet

and Doran, as well as supervisor over the disciplinary process should be held liable for deliberate

wrongdoing or bad faith use of the disciplinary process against the plaintiff.

WHEREFORE, plaintiff requests this Honorable Court grant the following relief:

   A. Issue a declaratory judgment that defendants violated the United States Constitution and

       state law;

   B. Issue an injunction ordering that defendants:

             1. Be removed from their positions of disciplinary management;

             2. Cease all retaliatory treatment of plaintiff;

             3. Disciplinary decision be overturned;

             4. Restore the plaintiff’s disciplinary record to its status of 9/28/10;

             5. Utilize a method (i.e., tape record, video record, audio record) to record the

                hearings in their entirety; and

             6. Cease disciplining the plaintiff for the same offense when it is clear that the

                plaintiff was already recognized and penalized by the Department of Correction

                for the same offense and where the plaintiff has already admitted that he is a Latin

                King.

   C. Grant compensatory damages in the following amount:

             1. $7,000.00 against Defendant Doran in his official capacity and $7,000.00 in his

                individual capacity;

             2. $10,000.00 against defendant Sweet in his official capacity and $13,000.00 in his

                individual capacity;




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       3. $25,000.00 against defendant Dougherty in his official capacity and $34,000.00 in

           his individual capacity;

       4. $40,000.00 against defendant Halpin in his official capacity and $50,000.00 in his

           individual capacity; and

       5. $40,000.00 against defendant John Alves in his official capacity and $50,000.00

           in his individual capacity.

D. Grant punitive damages of $10,000.00 against each of the defendants.

E. Grant such other relief as it may appear plaintiff is entitled.

F. Grant attorneys fees to the plaintiff.



                                            PLAINTIFF VICTOR JOSE VELASCO II



                                            By:       /s/ Andrew P. Giering
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                                                   Andrew P. Giering (ct29332)
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                              CERTIFICATION OF SERVICE



       I hereby certify that on February 21, 2018 a copy of the foregoing Amended Complaint

was filed electronically and served by mail on anyone unable to accept electronic filing. Notice

of this filing will be sent by e-mail to all parties by operation of the Court’s electronic filing

system or by mail to anyone unable to accept electronic filing as indicated on the Notice of

Electronic Filing. Parties may access this filing through the Court’s CM/ECF system.

                                                       /s/ Andrew P. Giering

                                                    Andrew P. Giering
